
666 S.E.2d 487 (2008)
Kevin Patrick ROWLETTE, Janith Martin, Marchella Thomas and Wanda Adams, individually and on behalf of a class of all others similarly situated
v.
STATE of North Carolina, and Richard H. Moore, in his official capacity as the Treasurer for the State of North Carolina.
No. 131P08.
Supreme Court of North Carolina.
August 26, 2008.
Norman B. Smith, Greensboro, John R. Wylie, Arthur T. Susman, Arthur J. Donaldson, for Rowlette, et al.
*488 Douglas A. Johnston, Special Deputy Attorney General, for State, et al.
Prior report: ___ N.C.App. ___, 656 S.E.2d 619.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Plaintiffs on the 25th day of March 2008 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 26th day of August 2008."
Upon consideration of the petition filed on the 25th day of March 2008 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
